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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE,


                    Plaintiff,
                                                   Civil Docket No. 20-cv-2295 (EGS)
        v.

 UNITED STATES POSTAL SERVICE, et
 al.,


                    Defendants.


                        UNOPPOSED MOTION TO MODIFY
                   DEFENDANTS’ DATA REPORTING OBLIGATIONS

       Pursuant to Federal Rule of Civil Procedure 54(b) and the Court’s inherent authority to

modify its orders, Defendants respectfully request that the Court modify its December 22, 2020

order concerning the United States Postal Service’s data reporting obligations. Defendants have

conferred with Plaintiffs, who do not oppose this motion.

       As the Court is aware, prior to the November 3 general election, the Court issued a series

of orders directing USPS to produce to Plaintiffs various data related to its processing of election

mail. See ECF No. 141 (describing orders). After the general election, the parties met and

conferred and reached agreement on a joint proposed order governing Defendants’ data reporting

obligations in advance of the Georgia runoff election. Id. The Court entered the joint proposed

order. See 12/22/2020 Minute Order.

       Since the Georgia runoff election has now passed, the parties met and conferred to

discuss USPS’s ongoing data reporting obligations. The parties agree that USPS need not

continue to produce the data identified in the Court’s December 22, 2020 Minute Order,
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provided that USPS continues to produce updated data on the number of extra and late trips

performed at the Nation, Area, and District level on a weekly basis. A proposed order reflecting

this agreement is attached.


Dated: January 15, 2021
                                    Respectfully submitted,

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                                    Assistant Director, Federal Programs Branch

                                    /s/ John Robinson
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